Case 21-30085-hdh11 Doc 102 Filed 02/03/21           Entered 02/03/21 11:13:14        Page 1 of 3




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ATTORNEY FOR THE BANCORP BANK

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

In re:                                          §           Chapter 11
                                                §
NATIONAL RIFLE ASSOCIATION                      §           Case No. 21-30085
OF AMERICA AND SEA GIRT LLC                     §
                                                §
         Debtors.                               §           Jointly Administered
                                                §
                                                §

           NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF ALL
               NOTICES, PLEADINGS, ORDERS AND OTHER PAPERS

TO ALL PARTIES AND COUNSEL OF RECORD:

         PLEASE TAKE NOTICE that, pursuant to sections 102(1), 342, and 1109 of the

Bankruptcy Code and Bankruptcy Rules 2002, 9007, and 9010(b), the undersigned hereby files

this Notice of Appearance as counsel to The Bancorp Bank, a creditor and party-in-interest

herein, and requests that all notices given or required to be served in this case be served at the

following addresses and that the listed contact information be added to the mailing matrix in the

above-referenced case. All such notices should be addressed as follows:

                                      Robert Lapowsky
                                       Stevens & Lee
                            620 Freedom Business Center, Suite 200
                                  King of Prussia, PA 19406
                                     RL@stevenslee.com



NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF
ALL NOTICES, PLEADINGS, ORDERS AND OTHER PAPERS – Page 1
Case 21-30085-hdh11 Doc 102 Filed 02/03/21            Entered 02/03/21 11:13:14       Page 2 of 3




                                              -and-

                                       David W. Giattino
                                      Stevens & Lee, P.C.
                                  919 Market Street, Suite 1300
                                     Wilmington, DE 19801
                                     DWG@stevenslee.com

                                              -and-

                                        Joe E. Marshall
                                         Marshall Law
                                   2626 Cole Ave., Suite 300
                                     Dallas, Texas 75204
                                  jmarshall@MarshallLaw.net

       PLEASE TAKE FURTHER NOTICE that, pursuant to 11 U.S.C. § 1109(b), the

foregoing request includes notices and papers referred to in the Bankruptcy Rules and

additionally includes, without limitation, notices of any application, complaint, demand, hearing,

motion, petition, pleading or request, whether formal or informal, whether written or oral, and

whether transmitted or conveyed by mail, telephone or otherwise.

       PLEASE TAKE FURTHER NOTICE that the undersigned additionally requests that the

Debtor and its counsel, all court-appointed committees and their counsel, the United States

Trustee, the Chapter 11 Trustee, the Clerk of the Court, and all parties filing a notice of

appearance herein place the foregoing parties’ names and addresses on any mailing matrix or list

of creditors to be prepared or existing in the Bankruptcy Case.

       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance is not intended to

be, and shall not constitute, a waiver of strict service in connection with any adversary

proceeding related to the Bankruptcy Case, and shall not constitute a waiver of rights by The

Bancorp Bank: (1) to have final orders in non-core matters entered only after de novo review by

a District Court judge; (2) to demand trial by jury in any proceeding so triable in this Bankruptcy



NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF
ALL NOTICES, PLEADINGS, ORDERS AND OTHER PAPERS – Page 2
Case 21-30085-hdh11 Doc 102 Filed 02/03/21            Entered 02/03/21 11:13:14       Page 3 of 3




Case or any case, controversy, or proceeding related to this Bankruptcy Case; (3) to have the

District Court withdraw the reference in any matter subject to mandatory or discretionary

withdrawal; or (4) to assert other claims, actions, defenses, setoffs or recoupments to which they

are or may be entitled under agreements, in law or in equity, all of which rights, claims, actions,

defenses, setoffs or recoupments The Bancorp Bank expressly reserves.


Dated: February 3, 2021               MARSHALL LAW
                                      2626 Cole Ave., Suite 300
                                      Dallas, Texas 75204
                                      Telephone: (214) 579-9173
                                      E-mail: jmarshall@MarshallLaw.net

                                      By: /s/ Joe E. Marshall
                                         Joe E. Marshall
                                         Texas Bar No. 13031100

                                      ATTORNEY FOR THE BANCORP BANK




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 3rd day of February 2021, he caused a true
and correct copy of the foregoing Notice of Appearance to be served electronically on those
parties requesting electronic service through the Court's ECF system:



                                      /s/ Joe E. Marshall
                                      Joe E. Marshall




NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF
ALL NOTICES, PLEADINGS, ORDERS AND OTHER PAPERS – Page 3
